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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
GENOVA BURNS, LLC
494 Broad Street
Newark, New Jersey 07102
Phone: (973) 533-0777
Fax: (973) 533-1112
Proposed Counsel for SITO Mobile Solutions, Inc.,
SITO Mobile, Ltd., and SITO Mobile R&D IP, LLC.
DANIEL M. STOLZ
DONALD W. CLARKE
                                                                 Case No.: 20-21436
In Re:                                                           (Jointly Administered)

SITO MOBILE SOLUTIONS, INC.,                                     Judge: Honorable Stacey L. Meisel

                                         Debtor.                 Chapter: 11

             NOTICE OF MOTION FOR AN ORDER EXTENDING EXCLUSIVITY

           PLEASE TAKE NOTICE that on February 2, 2021 at 11:00 a.m., the undersigned, as

 proposed counsel for SITO Mobile Solutions, Inc., (“SITO Solutions”), SITO Mobile, Ltd.

 (“SITO Limited”), and SITO Mobile R&D IP, LLC. (“SITO R&D”) the debtors and debtors-in-

 possession (collectively, the “Debtors”), in the above-captioned, jointly administered chapter 11

 cases (the “Cases”), will move before the Honorable Stacey L. Meisel, United States Bankruptcy

 Judge, United States Bankruptcy Court, 50 Walnut Street, 3rd Floor, Courtroom 3A, Newark,

 New Jersey 07102, for an order extending exclusivity, and for such other and further relief as is just

 and proper.

           PLEASE TAKE FURTHER NOTICE that objections, if any must be filed with the Clerk

 of the United States Bankruptcy Court, 50 Walnut Street, 3rd Floor, Courtroom 3A, Newark,

 New Jersey 07102, and served upon Genova Burns, LLC, Attn: Donald W. Clarke, Esq., 110 Allen

 Road, Ste. 304, Basking Ridge, New Jersey so they are received in accordance with the Rules.

           PLEASE TAKE FURTHER NOTICE that in the absence of any objections, the relief

 requested hereunder may be granted without further notice.
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                                            Respectfully submitted,
                                            WASSERMAN, JURISTA & STOLZ, PC
                                            Counsel to Debtors

                                            By:    /s/ Donald W. Clarke   .
 Dated: January 8, 2021                           DONALD W. CLARKE
